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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

BOBBY GERALD BENNETT,                        §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §    CIVIL ACTION NO. ________________
                                             §
CARDAN SPENCER,                              §
CHRISTOPHER WATSON, and                      §
CITY OF DALLAS, TEXAS,                       §
                                             §
       Defendants.                           §


            PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND

       Plaintiff Bobby Gerald Bennett files this his Original Complaint and in support

respectfully shows the Court as follows:

                                       I. PARTIES

       1.     Plaintiff Bobby Bennett (hereinafter “Bennett” or “Plaintiff”) is an individual

residing in Dallas, Texas.

       2.     Defendant Cardan Spencer (hereinafter “Spencer”) was at all times relevant

to this Complaint a police officer for the Dallas Police Department (“DPD”), employed by

the City of Dallas. Spencer was, at all times, acting under color of law, to wit, under color

of the statutes, ordinances, regulations, policies, customs and usages of the State of Texas

and/or the City of Dallas, Texas. Defendant Spencer may be served with service of process

at his place of residence located at 2000 Michelle Creek Drive, Little Elm, Texas 75068.

Defendant Spencer is sued in his individual capacity.




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         3.   Defendant Christopher Watson (hereinafter “Watson”) was at all times

relevant to this Complaint a police officer for the Dallas Police Department (“DPD”),

employed by the City of Dallas. Watson was, at all times, acting under color of law, to wit,

under color of the statutes, ordinances, regulations, policies, customs and usages of the

State of Texas and/or the City of Dallas, Texas. Defendant Watson may be served with

service of process at his place of business located at 1400 South Lamar Street, Dallas, Texas

75215. Defendant Watson is sued in his individual capacity.

         4.   Defendant City of Dallas, Texas (“the City”) is a municipal corporation and

political subdivision of the State of Texas. The City may be served with process by serving

its City Secretary, Rosa Rios, Dallas City Hall, 1500 Marilla, Room 5D South, Dallas, Texas,

75201.

                                   II. JURISDICTION
         5.   The Court has jurisdiction over this lawsuit pursuant to 28 U.S.C § 1331, as

this lawsuit arises under the Constitution, laws, or treaties of the United States.

Additionally, the Court has supplemental jurisdiction of Plaintiff’s state law claim under 28

U.S.C. § 1367(a).

                                        III. VENUE
         6.   Venue is proper in this Court under 28 U.S.C. § 1391(b), as this is the judicial

district in which a substantial part of the events or omissions giving rise to the claims

occurred.




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                                      IV. INTRODUCTION
       7.         This is an action for money damages brought pursuant to 42 U.S.C. § 1983 for

the violations of civil rights and privileges guaranteed Plaintiff by the United States

Constitution and under the common law of the State of Texas.

                                            V. FACTS
       8.         During an encounter on October 14, 2013, Defendant Spencer used force upon

Plaintiff that was completely unwarranted and unnecessary, firing his weapon four times

at Plaintiff, with at least one bullet striking him in the stomach. There was absolutely no

justification for any use of force against Mr. Bennett, much less potentially deadly force. In

an effort to cover up his use of excessive force, Defendants Spencer and Watson then

caused Plaintiff to be charged with aggravated assault on a peace officer, accusing him of

aggressively approaching them with a knife.

       9.         A surveillance video of the incident, captured by a neighbor’s video camera,

showed an entirely different scene from what was described in the probable cause affidavit,

written and sworn to by Defendant Watson.

       10.        In fact, the video clearly shows that Plaintiff Bennett, who suffers from mental

illness, was sitting in a chair in the center of the cul-de-sac outside his mother’s house when

DPD officers Spencer and Watson arrived. The officers immediately exited their squad car

and approached Plaintiff with guns drawn. In a non-threatening manner, Plaintiff stood

from the chair in which he had been sitting. His hands were at his side and motionless.

Spencer and Watson continued to approach until suddenly, and without warning, Spencer

shot Plaintiff.




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       11.    The neighbor, Maurice Bunch (hereinafter “Bunch”), showed the video to

police that same day. Police supervisors were aware of the video, and had actually

watched the video, prior to Bennett being charged with Aggravated Assault on a Peace

Officer. The video presents indisputable evidence that Plaintiff was posing no threat

whatsoever to Defendants Spencer and Watson at, and prior to, Plaintiff being shot.

       12.    After learning that charges had been filed against Plaintiff despite DPD

supervisors’ awareness of the video, Bunch contacted local news media, and made the

video available. Soon thereafter, both local and national attention focused on the actions of

Defendants Spencer, Watson, and the Dallas Police Department. More than three days

after police were aware of indisputable evidence that contradicted Watson’s sworn

affidavit, the charge of Aggravated Assault on a Peace Officer remained pending against

Plaintiff. During that time, concerned family members and friends were unable to visit

Plaintiff, who lay in Intensive Care at Baylor Hospital in Dallas suffering from a near fatal

gunshot wound to his abdomen. Finally, as public pressure mounted, Dallas Police Chief

David Brown announced that the criminal charge against Plaintiff was dismissed. DPD

also initiated an Internal Affairs investigation, as well as a criminal investigation, into the

incident. As a result of those investigations, Defendant Spencer was terminated based on

findings that he used unjustified and unwarranted force. Defendant Watson received a

fifteen (15) day suspension based on findings that he was untruthful in the probable cause

affidavit.

       13.    Prior to this incident, Defendant Spencer had been involved in a previous

shooting for which his conduct was scrutinized and investigated. The investigation found



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that his conduct had potentially put fellow officers’ lives in danger when he fired his gun

during a standoff. Although his judgment in firing his weapon was highly questionable,

Defendant Spencer was neither disciplined nor given additional training as a result of the

incident. In fact, Defendant Spencer’s conduct in this previous shooting has been used in

training for the purpose of demonstrating how not to do things.

                  VI. CAUSES OF ACTION UNDER 42 U.S.C. § 1983

                                    A. Excessive Force

       14.    Paragraphs 1-13 set forth above are incorporated herein by reference.

       15.    The use of excessive force by Defendant Spencer was an unreasonable

physical seizure of Plaintiff under the Fourth Amendment of the United States Constitution.

His use of excessive force was not objectively reasonable under the totality of the

circumstances, and the force he used against Plaintiff was applied intentionally and/or

recklessly to cause harm to him. The force used was completely unwarranted and

unjustified for all the reasons set forth above.

       16.    As a direct result of Defendant Spencer’s conduct, Plaintiff has suffered

physical and mental/emotional injuries and was deprived of his constitutional rights, all to

his damage. The excessive force violated his rights guaranteed by the Fourth Amendment of

the United States Constitution and 42 U.S.C. § 1983.

                                      B. False Arrest

       17.    Paragraphs 1 - 16 set forth above are incorporated herein by reference.

       18.    Despite the total lack of probable cause to establish the existence of any crime,

Defendants Spencer and Watson caused Plaintiff to be charged and detained for the offense



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of Aggravated Assault on a Peace Officer, a felony offense. The arrest of Plaintiff was

malicious, intentional, and made with the express purpose of covering up the

aforementioned illegal conduct by Defendant Spencer.             The false arrest was an

unreasonable seizure of Plaintiff, and violated his rights, as guaranteed by the Fourth

Amendment of the United States Constitution and 42 U.S.C. § 1983. The arrest was in the

absence of probable cause.

       19.    At the time Defendant Watson applied for the arrest warrant he knowingly

and intentionally, or with reckless disregard for the truth, misrepresented the facts (as

described above) in an effort to cause the Magistrate Judge to sign the arrest warrant for

Plaintiff, even though probable cause did not otherwise exist.

       20.    Additionally, Defendant Watson knowingly and intentionally, or with

reckless disregard for the truth, omitted from his affidavit material facts within his

knowledge which would have negated probable cause.

       21.    At all times relevant to this Complaint, Defendants Spencer and Watson were

police officers for the City of Dallas, and were acting under the direction and control of the

City of Dallas.

       22.    As a direct result of the illegal conduct of Defendants Spencer and Watson,

Plaintiff has suffered injury and damage as further described below.

                           C. Cause of Action against the City

       23.    Paragraphs 1 – 22 set forth above are incorporated herein by reference.




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       24.    At the time of the events described above, the individual Defendants were

acting under color of the laws and regulations of the State of Texas and the DPD and in the

course and scope of their employment for the City.

       25.    During all relevant times, the Dallas City Council was the City’s final

policymaker regarding the conduct of its police officers and had actual or constructive

knowledge of the inadequate supervision and training that, in reasonable probability,

caused the incident that forms the basis of this lawsuit. Additionally, the constitutional

violations in this case were the direct result of inadequate supervision and inadequate

training of Defendant Spencer. Defendant Spencer was known to have acted recklessly

with his firearm, and in a manner that endangered life, yet supervisors within the Dallas

Police Department entirely failed to provide additional training or supervision that, in

reasonable probability, would have prevented Plaintiff from being shot.

       26.    The above-described failure to train and supervise Defendant Spencer was a

direct cause, and moving force, of the constitutional deprivations suffered by Plaintiff.

       27.    As a direct result of these acts, Plaintiff has suffered physical injuries,

mental/emotional injuries, and economic damages. He was deprived of his constitutional

rights, all to his damage.

                                    VIII. DAMAGES

       28.    As a direct and proximate result of the acts and omissions outlined above,

Plaintiff has been severely damaged. Defendants’ conduct has caused physical pain and

injury to Plaintiff. He sustained a serious gunshot wound to the stomach for which weeks of

hospitalization and rehabilitation has been necessary. His injuries are permanent and will



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require medical attention throughout his life. He has also suffered emotional and mental

anguish, and pain and suffering as a direct result of the violations of his constitutional rights.

All of these damages he suffered in the past and will continue to suffer in the future.

       29.     Plaintiff seeks compensatory damages in an amount deemed sufficient by the

trier of fact to compensate him for his damages, which include physical pain and injuries,

both past and future, mental anguish, pain and suffering, both past and future,

disfigurement, and medical expenses.

       30.     Plaintiff also seeks exemplary damages against Defendants Spencer and

Watson.

       31.     Plaintiff has retained the services of the undersigned attorney, and claims

entitlement to an award of reasonable and necessary attorney’s fees under 42 U.S.C. §§ 1983

and 1988.

                                     IX. JURY DEMAND

       32.     Plaintiff respectfully requests trial by jury.

                                         X. PRAYER

       For these reasons, Plaintiff seeks a judgment against Defendants for:

               a.     compensatory and actual damages in an amount deemed sufficient by
                      the trier of fact;

               b.     exemplary damages;

               c.     attorney’s fees pursuant to 42 U.S.C. §§ 1983 and 1988;

               d.     costs of court; and

               e.     interest allowed by law for prejudgment or post-judgment interest.




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                                  Respectfully submitted,


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                                  BOBBY GERALD BENNETT




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